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                                                                                   2018 Oct-04 AM 11:18
                                                                                   U.S. DISTRICT COURT
                                                                                       N.D. OF ALABAMA


                     UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF ALABAMA
                           MIDDLE DIVISION

RONNIE FERGUSON,                         )
                                         )
      Plaintiff,                         )
                                         )
v.                                       )    Case No. 4:17-cv-01854-JEO
                                         )
THE GREEN DOCTOR, LLC,                   )
and JOSEPH TUCKER,                       )
                                         )
      Defendants.                        )

                                      ORDER

      The court previously allowed for the substitution of the estate of Mr. Tucker

for Defendant Joseph Tucker. In doing so, the court afforded Swetlana Tucker as

the Administrator of Mr. Tucker’s estate an opportunity to retain counsel. The

court set the matter for a telephone conference call on Tuesday, October 2, 2018,

at 4:00 p.m., with counsel to determine the status of the matter. The court also

encouraged counsel to meet and confer prior to the conference call to discuss

updated deadlines for disposition of this case. The court also provided that if

counsel submit new, agreed upon deadlines, the conference call would be

cancelled. The court further informed Ms. Tucker that if she failed to obtain

counsel by the Tuesday call, she was expected to participate in the call. Finally,

the court informed Ms. Tucker that a failure by the estate to retain counsel to
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represent it, may result in the grant of a default judgment against the estate.1

       To date, no one has entered a notice of appearance on behalf of the estate.

Additionally, Ms. Tucker failed to participate in the telephone conference as

ordered. Accordingly, the call is now set for Tuesday, October 9, 2018, at 4:15

p.m. Counsel and Ms. Tucker are again ORDERED to participate in the call. A

failure to participate may result in a request by Plaintiff for entry of a default and a

default judgment against the estate. The call-in number is 888-808-6929 and the

pass code is 5917763.

       The Clerk of the Court is DIRECTED to serve a copy of this order upon

counsel of record and upon Mrs. Svetlana Tucker at 1223 Jones Chapel Loop,

Springville, AL 35146.

       DONE, this the 4th day of October, 2018.



                                            ___________________________
                                            JOHN E. OTT
                                            Chief United States Magistrate Judge




       1
        The Eleventh Circuit has held that an estate must be represented by counsel. See
Franklin v. Garden State Life Insurance, 462 F. App’x 928 (11th Cir. 2012).

                                               2
